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Attorneys for Plaintiffs

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

FEDERICO CORNEJO, individually, and as the
personal representative and administrator of
ine ESTATC OF JIMMY CORNEJO; SYLVIA
AMESQUITA

Plaintiff,
Vv.

COUNTY OF LOS ANGELES, A Governmental
Entity; LOS ANGELES COUNTY SHERIFF’S
DEPARTMENT, A Governmental Entity;
LEROY D. BACA, Sheriff, individually and in his
Official Capactiy; and DOES 1 to 100, inclusive,

Defendant(s).

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CASE NO. CV 12-3242 SVW (SHx)
PLAINTIFFS’ OPPOSITION TO
DEFENDANT COUNTY OF LOS
ANGELES’ MOTION TO DISMISS
THE FIRST AMENDED COMPLAINT;
MEMORANDUM OF POINTS AND
AUTHORITIES

[Filed concurrently with Plaintiffs’
Objection to Defendant County of Los
Angeles’ Request For Judicial Notice]

Date: July 23, 2012
Time: 1:30 p.m.
Cirm: 6

MATTER FOR DETERMINATION BY
HONORABLE STEPHEN V. WILSON

TO THE COURT AND ALL PARTIES AND THEIR COUNSEL OF RECORD:

Plaintiffs Federico Cornejo, individually, and as the personal representative and administrator

of the ESTATE OF JIMMY CORNEJO, and Sylvia Cornejo (“PLAINTIFFS”) file the instant
Opposition to Defendant County of Los Angeles’ (“COUNTY OF LOS ANGELES’ / "LOS
ANGELES COUNTY SHERIFF’S DEPARTMENT / COUNTY’). Motion to Dismiss the First

Amended Complaint (“FAC”).
1

 

PLAINTIFFS’ OPPOSITION TO DEFENDANT COUNTY OF LOS ANGELES’ MOTION TO DISMISS

 

 

 

 
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PLAINTIFFS’ OPPOSITION TO DEFENDANT SHERIFF LEROY D. BACA’S MOTION TO DISMISS

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PLAINTIFFS’ OPPOSITION TO DEFENDANT SHERIFF LEROY D. BACA’S MOTION TO DISMISS
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MEMORANDUM OF POINTS AND AUTHORITIES

I. INTRODUCTION

Decedent JIMMY CORNEJO (“Decedent”) was an inmate housed in the Los
Angeles County jail system. On approximately October 7, 2010, Decedent JIMMY
CORNEJO was transferred to custody in the Twin Towers Jail, located at 441 Bauchet St.,
Los Angeles, CA 90012, operated by Defendants COUNTY OF LOS ANGELES and LOS
ANGELES COUNTY SHERIFF'S DEPARTMENT. At that time, the Decedent JIMMY
CORNEJO was placed into the Suicide Watch Holding Area.

On October 31, 2010, Decedent JIMMY CORNEJO collapsed and was uitimately
pronounced dead.

Truly, COUNTY OF LOS ANGELES is puiting forth the best arguments they can
under the circumstances and should be commended for same, however, based upon
COUNTY OF LOS ANGELES’ motion, it would appear that COUNTY truly believes that
PLAINTIFFS should not have filed this matter as the Autopsy Report pertaining to
Decedent is determinative of Decedent’s death and said Autopsy Report cannot be
challenged. Further, COUNTY ignores the fact that there was a significant delay in the
monitoring of Decedent by COUNTY and that there was nothing COUNTY could have
done to prevent the death of JIMMY CORNEJO. COUNTY’s arguments, although they are
creative, are subsiantially flawed in many respects and based upon the law, PLAINTIFFS
have uniquivocally complied with the pleading standards pertaining to this stage of
litigation and COUNTY has every right to file a dispositive motion ie a Motion For
Summary Judgment if PLAINTIFFS do not have enough facts to support their allegations.

Unfortunately for COUNTY, PLAINTIFFS will not simply fold up their tent and walk
away as it is specifically alleged by PLAINTIFFS that Defendants failed to follow their
internal polices regarding monitoring the Decedent, i.e. rounds were apparently to
have been made every 15 minutes regarding inmates on suicide watch, however,
apparently due to a shift change Defendants did not check on Decedent for 35

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PLAINTIFFS’ OPPOSITION TO DEFENDANT COUNTY OF LOS ANGELES’ MOTION TO DISMISS

 

 

 
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minutes. Further it is alleged that Defendants’ failures proximately caused the death of
Decedent JIMMY CORNEJO (whatever the exact cause of cause death was i.e. the
Autopsy Report stated that the mode of death is “Undetermined,” homicide was “not
suspected” and “circumstances are not consistent with suicide” [suicide was not
specifically ruled out in said report], and a determination between a “Natural and Accident”
cause of death could not be made by the Deputy Medical Examiner]. Regardless, of what
the Autopsy Report stated, we are sure that all counsel in this matter would agree that an
Autopsy Report can be challenged and is not determinative/conclusive ie due process
allows that the Deputy Medical Examiner can be cross-examined under oath pertaining to
his opinions, judgments and-conclusions and same can be challenged by other experts.

Pursuant to statute and caselaw that is analogous to the instant case, PLAINTIFFS
have in good-faith clearly alleged COUNTY'’s participation in constitutional deprivations
and COUNTY’s Motion should be denied.

ll. SUMMARY OF ARGUMENT AND ALLEGATIONS IN THE FAC

PLAINTIFFS have ciearly sated their claim for a civil rights violation because they
have alleged more than enough facts to show that an officer or employee of COUNTY was
deiiberately indifferent to the serious medical needs of Decedent JIMMY CORNEJO;, as a
result of an official policy or established custom of COUNTY OF LOS ANGELES. Further,
PLAINTIFFS has sufficiently stated a claim for a civil rights violation because that have
alleged facts to show that the Decedent died as a result of an official policy or established
custom of COUNTY OF LOS ANGELES.

The FAC alleges the following:

“In approximately 1999, under threat of a lawsuit. by the DOJ, BACA and the
COUNTY submitted a Memorandum of Understanding (“MOU”) with the DOJ which
required BACA and the COUNTY to address and correct continuous constitutional
violations to which inmates were being subjected, particularly inmates suffering from
mental problems. BACA personally signed the MOU. However, after years of monitoring
the County Jail system, under the authority of the MOU, in 2006, the DOJ experts issued a

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PLAINTIFFS’ OPPOSITION TO DEFENDANT COUNTY OF LOS ANGELES’ MOTION TO DISMISS

 

 

 

 
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report which still found noncompliance with many of its. recommendations regarding the
abuse of inmates and the deficiencies which continue at county jails which constitute a
pattern and practice of constitutional violations. BACA received the monitoring reports and
was responsible for the institution of policies and procedures to correct the
unconstitutional conditions, but failed to do so.” FAC Para 19:

“In February 2005, BACA received notice from the Special Counsel to the LACSD,
in the 19" Semiannual Report that his deputies conduct was ending up costing county tax
payers millions of dollars annually in payments of civil judgments and settlements, in
cases where the internal investigations had found no wrong-doing. BACA was notified by
his Special Counsel that a review of twenty-nine (29) cases involving misconduct that
settled for $100,000.00 or more over the past five years, only eight resulted in any type of
discipline to the involved deputies or policy change in the LACSD. Therefore, BACA was
again aware of the systematic deficiencies in supervision and lax discipline, but has failed
to make policy changes knowing the risk of harm created by allowing misconduct to go
unaddressed.” FAC Para 20;

“In February of 2005, the findings of inmate abuse was again publicly presented to
BACA by Special Counsel Merrick Bobb, in a report to the Board of Supervisors finding
the “Los Angeles County’s largest jail is so outdated, understaffed, and riddled with
security flaws that it jeopardizes the lives of guards and inmates.” The Special Counsel's
report concluded that the Men’s Central Jail is “nightmarish to manage” and suffers from
lax supervision and a long-standing jail culture that has shortchanged accountability fro
inmate safety and security.” FAC Para 21;

“In August of 2005, BACA received notice from the Special Counsel to the LACSD
in the 20" Semiannual Report that his management and custody facilities was resulting in
deputies having very low morale and bitterness due to stagnation in jail assignments for an
average of five to seven years. The Report pointed to a substantial number of deputies in
custody assignments leaving LACSD for positions with other police agencies (sixty-five in
five months) resulting in insufficient staffing and forcing overtime replacements. The

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PLAINTIFFS’ OPPOSITION TO DEFENDANT COUNTY OF LOS ANGELES’ MOTION TO DISMISS

 

 
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Report advised BACA that any longer than two years in a custody assignment is not good
for the deputies, the inmates, the LACSD or the public as deputies eager to get to a patrol
assignment may become bitter, jaded and complacent. BACA is aware of the risk of harm
created by these policies and yet there has been no change apparent notwithstanding his
counsel's recommendations.”"FAC Para 22; and

“The Office of Independent Review, who participates in jail investigations and
reviews LACSD investigations, Public Oversight/ Quarter 2007, continued to give notice to
BACA of deputies abandoning their posts, failing to monitor, falling asleep, not following
procedures, failing to conduct timely security checks, and deputies left inmates
unsupervised.’”FAC Para 23;

In its Motion, COUNTY OF LOS ANGELES states that PLAINTIFFS do not allege
that Decedent committed suicide, this is true, as the Autopsy Report, which was wrongfully
attached to COUNTY OF LOS ANGELES’ Request For Judicial Notice, is not
determinative of Decedent's cause of death (said Autopsy Report does not specifically rule
out that Decedent did not commit suicide). But what PLAINTIFFS do allege is that
COUNTY did not follow their own policies regarding monitoring individuals that were
housed in a suicide watch hold area (apparently due to a shift change), and said
violation/delay was a cause of Decedent's death ie JIMMY CORNEJO would not have
died if COUNTY OF LOS ANGELES was not deliberately indifferent to the serious medical
needs of Decedent. FAC Paras. 43, 45, 65, 81 and83..

Decedent may have very well committed suicide, but this is not an issue that cannot
be determinative at this point in time as there needs to be discovery conducted and expert
testimony obtained pertaining to cause of death as the author of the Autopsy Report, is
not the final arbitrator pertaining to the cause of death and regardless, PLAINTIFFS have
clearly alleged that COUNTY did not follow their own policies and said death could have
been prevented if COUNTY was not deliberately indifferent to the serious medical needs
of Decedent. FAC Paras. 43, 45, 65, 81 and 83..

COUNTY does not have any caselaw to support their proposition that the FAC

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PLAINTIFFS’ OPPOSITION TO DEFENDANT COUNTY OF LOS ANGELES’ MOTION TO DISMISS

 

 
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must state what the serious medical condition was, nor do they have any caselaw to
support that PLAINTIFFS must state the cause of death, and nor do they have
caselaw to support that PLAINTIFFS must state what the specific policy or custom
was that such deliberate indifference effectuated (COUNTY ignores that PLAINTIFFS
do state that at least one policy was violated ie COUNTY’s policy to monitor the
inmates on suicide watch every 15 minutes, FAC Para. 33). PLAINTIFFS have
sufficiently plead what is needed under the law and PLAINTIFFS cannot know every fact
pertaining to the untimely death of Decedent and that is why there is discovery in cases.

COUNTY falsely states that without question, Decedent died as a result of low
sodium levels and apparently there was nothing that COUNTY could have done.
Respectfully, PLAINTIFFS have plead what is required under the law and PLAINTIFFS are
entitled to conduct discovery to further support the allegations in the FAC. For example,
PLAINTIFFS would like to know specifically why Decedent was housed in the suicide
holding area and are entitled to conduct discovery pertaining to this and many other
issues.

Apparently done tongue in cheek, COUNTY states that how could Defendants have
known about Decedent’s serious medical condition?, how could Defendants have known
that Decedent required medical atitention?, and how COUNTY employees knew that
Decedent had an apparent electrolyte imbalance ore the serious nature of such condition?
Obviously, many of these facts will be known to PLAINTIFFS through the discovery
process as PLAINTIFFS do not have to specifically plead all of facts that occurred
pertaining to this tragedy.

COUNTY even goes so far as to hint that PLAINTIFFS experts should have already

_ included their specific opinions in the FAC pertaining to alleging the specific facts to show

how more frequent monitoring would have resulted in a different outcome. It appears that
COUNTY truly believes thai the entire case should be tried at the initial pleading stage of
litigation. Not only is this ludicrous, but noticeably absent from the instant motion is that
COUNTY does not have any support in the law for the alleged deficiencies of

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PLAINTIFFS’ OPPOSITION TO DEFENDANT COUNTY OF LOS ANGELES’ MOTION TO DISMISS

 

 

 

 
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PLAINTIFFS’ FAC.
lll. STANDARD FOR RULING ON A MOTION TO DISMISS

All reasonable inferences from the facis alleged are drawn in plaintiffs favor in
determining whether the complaint states a valid claim. Twombly and Iqbal did not change
this fundamental tenet of Tule 12(b)(6) practice. Braden v. Wal-Mart Stores, Inc. 588 F. 3d
585, 595 (8" Cir.2009). Baker v. Riverside County Office of Ed. 584 F. 3d 821, 824 (9" Cir.
2009).

Curiously absent from COUNTY’s motion is any reference to Starr v. Baca 652
F.3d (9" Cir. 2011), which is directly on point with the instant case pertaining to the
pleading standard that PLAINTIFFS must comply with under the law. As PLAINTIFFS
have more than complied with the pleading reauirements aqainst Defendant BACA,
individually, the same is to be true pertaining to Defendant COUNTY.

The Court in Starr analyzed Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007), as

the Court stated that plaintiff in Twombly alleged a violation of Section 1 of the Sherman

- Act. Applying the pleading standard of Rule 8{a), the Court wrote “that an allegation of

paraliel conduct and a bare assertion of conspiracy will not suffice,” Twombly at 556, even
though the existence of parallel conduct and a conspiracy would violate Section 1. The
Court required more than just notice of the claim. It required that the claim be plausible.
“(Wie hold that stating such a claim requires a complaint with enough factual matter
(taken as true) to suggest that an agreemeni was made. Asking for plausible grounds to
infer an agreement does not impose a probability requirement at the pleading stage; it
simply calls for enough fact to raise a reasonable expectation that discovery will reveal
evidence of iliegal agreement.” Twombly. at 556, The Court made clear in Twornbly that
it was concerned that lenient pleading standards facilitated abusive antitrust litigation. It

provided, with approval, the following citation:

see also Car Carriers, Inc. v. Ford Motor Co., 745 F.2d 1101, 1106 (C.A.7 1984)
(“T]he costs of modern federal antitrust litigation and the increasing caseload of

the federal courts counsel against sending the parties into discovery when there is
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PLAINTIFFS’ OPPOSITION TO DEFENDANT COUNTY OF LOS ANGELES’ MOTION TO DISMISS

 

 
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no reasonable iikelihocd that the plaintiffs can construct a claim from the events

related in the complaint’) Twombly. at 558, 127 S.Ct. 1955.

The Court in Starr went on to state that the Court Twombly appeared concerned
that in some complex commercial cases the usual lenient pleading standard under Rule
8(a) gave too much settlement leverage to plaintiffs. That is, if a non-specific complaint
was enough to survive a motion to dismiss, plaintiffs would be able to extract undeservedly
high settlements from deep-pocket companies. The Starr Court also delineated that the
Court in Ashcroft v. iqbal, 556 U.S. 662, 129 S. Ct. 1937, was concerned that the usual
lenient standard under Rule 8(a) would provide too litile protection for high-level executive
branch officials who allegedly engaged in misconduct in the aftermath of September 11,
2001. To the extent that we perceive a difference in the application of Rule S{a) in
groups of cases, it is difficult to know in cases that come before us whether we should

apply the more lenient or the more demanding standard. Id at 1206.

But whatever the difference between these cases, we can at least state the
following two principles common to all of them. First, to be entitled to the presumption of
truth, allegations in a complaint or counterclaim may not simply recite the elements of a
cause of action, but must contain sufficient allegations of underlying facts to give fair
notice and to enable the opposing party to defend itself effectively. Second, the factual
allegations that are taken as true must plausibly suggest an entitlement to relief, such that
itis not unfair to require the opposing party to be subjected to the expense of discovery
and continued litigation. Id at 1205-1206.

Viewed in the light of all of the Supreme Court's recent cases the Court in Starr
stated that the allegations of Starr's complaint satisfy the standard of Rule 8(a). We do not
so hold merely because Starr's complaint, like the complaint in Erickson, alleges
deliberate indifference in violation of the Eighth and Fourteenth Amendments. Rather, we

so hoid because his complaint complies with the two principles just stated. Id at 1217...
The ruling in Starr specifically stated that operative complaint makes detailed

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PLAINTIFFS’ OPPOSITION TO DEFENDANT COUNTY OF LOS ANGELES’ MOTION TO DISMISS

 

 

 
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indifference. These allegations are neither ““bald”” nor

 

factual allegations that go well beyond reciting the elements of a claim of deliberate

conclusory,” and hence are

entitled to the presumption of truth. /qba/, 129 S.Ct. at 1951. Id at 1206-1207. —
The instant case in analogous to Sfarr in that PLAINTIFFS specifically allege

numerous incidents in which inmates in Los Angeles County jails have been killed or
injured because of the culpable actions of the subordinates of COUNTY. The FAC
specifically alleges that Sheriff Baca was given notice of all of these incidents. It
specificaily alleges, in addition, that Sheriff Baca was given notice, in several reports, of
systematic problems in the county jails under his supervision that have resulted in these
deaths and injuries. Finally, the FAC alleges that Sheriff Baca did not take action to protect
inmates under his care despite the dangers, created by the actions of his subordinates, of
which he had been made aware. These incidents are sufficiently detailed to give notice to
Sheriff Baca of the nature of Starr's claim against him and to give him a fair opportunity to
defend against it. They are far from the ““bare assertion” in /gba/ that defendants

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subjected Iqbal to harsh conditions of confinement “solely on account” of his “religion,

|| race, and/or national origin.” id at 1206-1208.

Further, the factual allegations in PLAINTIFFS’ FAC, just like in Starr's complaint
plausibly suggest that Sheriff Baca acquiesced in the unconstitutional conduct of his |
subordinates, and was thereby deliberately indifferent to the danger posed to Starr. There
is no “obvious alternative explanation,” within the meaning of /qbal, for why Sheriff Baca
took no action to stop his subordinates’ repeated violations of prisoners’ constitutional

rights despite being repeatedly confronted with those violations, such that the alternative

explanation requires us to conclude that Star's explanation ““is not a plausible

conclusion.”” iqbal, 129 S.Ct. at 1951, 1952. Id at. 1208.

If there are two alternative explanations, one advanced by defendant and the other
advanced by piainiiff, both of which are plausible, plaintiffs complaint survives a motion to
dismiss under Rule 12(b)(6). Plaintiff's complaint may be dismissed only when defendant's

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PLAINTIFFS’ OPPOSITION TO DEFENDANT COUNTY OF LOS ANGELES’ MOTION TO DISMISS

 

 
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plausible alternative explanation is so convincing that plaintiff's explanaiion is im plausible.
The standard at this stage of the litigation is not that plaintiff's explanation must be true or

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even probable. The factual allegations of the complaint need only “plausibly suggest an
entitlement to relief.”” Id. at 1951. As the Court wrote in Twombly, Rule 8(a) “does not

impose a probability requirement at the pleading stage; it simply calis for enough fact to

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raise a reasonable expectation that discovery will reveal evidence” to support the
allegations. Twombly, 550 U.S. at 556, 127 S.Ct. 1955 (emphasis added). Starr's
complaint satisfies that standard. Id at 1217. Similarly, PLAINTIFFS’ FAC satisfies this

standard.

We hoid that the Supreme Cours decision in /qba/ did not alter the substantive

requiremenis for supervisory ability
confinement case under the Eighth and Fourteenth Amendments where deliberate
indifference is alleged. We further hold that Starr has sufficiently alleged under Rule 8(a) a
supervisory liability claim of deliberate indifference against Sheriff Baca. We therefore
reverse the district court's dismissal of Starr's claim against Sheriff Baca and remand for
further proceedings. Id at 1216-1217. Based thereon, PLAINTIFFS have more than
alleged the pleading requirements pertaining to COUNTY as BACA was an employee of

COUNTY.
IV. PLAINTIFFS HAVE SUFFICIENTLY ALLEGED THAT COUNTY EMPLOYEE OR
OFFICER WAS DELIBERATELY INDIFFERENT TO DECEDENT’S SERIOUS

MEDICAL NEEDS AND THAT SUCH DELIBERATE INDIFFERENCE WAS
PURSUANT TO A COUNTY POLICY/CUSTOM AND THAT DECEDENT DIED AS

A RESULT THEREOF
We have long permitted plaintiffs to hold supervisors individually liable in

§§ 1983 suits when culpable action, or inaction, is directly attributed to them. We have
never required a plaintiff to allege that a supervisor was physically present when the injury

occurred. In Larez v. City of Los Angeles, 946 F.2d 630 (9th Cir.1991), we explained that

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to be held liable, the supervisor need not be “directly and personally involved in the same
way as are the individual officers who are on the scene inflicting constitutional injury.”” /d.

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at 645. Rather, the supervisor's participation could include his “own culpable action or
inaction in the training, supervision, or control of his subordinates, ““his acquiescence in
the constitutional deprivations of which the complaint is made,” or ““conduct that showed a

reckiess or callous indifference to the rights of others. Id. at 646. Id. At 1206.
The Court in Sfarr described that the Plaintiff does not allege purposeful

discrimination by Sheriff Baca. Rather, he alleges unconstitutional conditions of
confinement in violation of the Eighth Amendment's prohibition against cruel and unusual
punishment, as incorporated through the Due Process Clause of the Fourteenth
Amendment. A claim of unconstitutional conditions of confinement, unlike a claim of
unconstitutional discrimination, may be based on a theory of deliberate indifference. See
Farmer v. Brennan, 511 U.S. 825, 114 S.Ct. 1970, 128 L.Ed.2d 811 (1994). A showing
that a supervisor acted, or failed to act, in a manner that was deliberately indifferent to an
inmate's Eighth Amendment rights is sufficient to demonstrate the involvement and the
liability of that supervisor. Thus, when a supervisor is found liable based on deliberate
indifference, the supervisor is being held liable for his or her own culpable action or
inaction, not held vicariously liable for the culpable action or inaction of his or her
subordinates. We see nothing in /qbal indicating that the Supreme Court intended to
overturn longstanding case law on deliberate indifference claims against supervisors in

conditions of confinement cases. Id at 1206-1207.
We therefore conclude that a plaintiff may state a claim against a supervisor for

deliberate indifference based upon the supervisor's knowledge of and acquiescence in

unconstitutional conduct by his or her subordinates. Id at 1207.

This is exactly what PLAINTIFFS have alleged in the instant case ie a claim based
upon a supervisor for deliberate indifference based upon the supervisor's knowledge of

and acquiescence in unconstitutional conduct by his or her subordinates. Therefore,

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COUNTY is implicated by the same allegations as they were also made against COUNTY.

A defendant may be held liable as a supervisor under §§ 1983 “if there exists either
(1) his or her personal involvement in the constitutional deprivation, or (2) a sufficient
causal connection between the supervisor's wrongful conduct and the constitutional
violation.”” Hansen v. Black, 885 F.2d 642, 646 (9th Cir.1989). ““[A] plaintiff must show the
supervisor breached a duty to plaintiff which was the proximate cause of the injury. The
law clearly allows actions against supervisors under section 1983 as long as a sufficient
causal connection is present and the plaintiff was deprived under color of taw of a federaily
secured right.”” Redman, 942 F.2d at 1447 (internal quotation marks omitted) .“The

requisite causal connection can be established ... by setting in motion a series of acts by

supervisor] knew or reasonably should have known would cause others to inflict a
constitutional injury,”” Dubner v. City & Cnty. of San Francisco, 266 F.3d 959, 968 (9th
Cir.2001). “A supervisor can be liable in his individual capacity for his own culpable action
or inaction in the training, supervision, or control of his subordinates; for his acquiescence
in the constitutional deprivation; or for conduct that showed a reckless or callous

indifference to the rights of others.” Watkins v. City of Oakland, 145 F.3d 1087, 1093 (9th
Cir. 1998). Id at 1208.

The Starr court analyzed Redman, 942 F.2d at 1447 to support its conclusions.
Our decision in Redman is illustrative. In Redman, the plaintiff alleged that the facility in
which he was confined was overcrowded; that the Sheriff knew the facility was not a
proper place to detain him and posed a risk of harm but had placed him there anyway;
and thai the Sheriff was ultimately in charge of the facility's operations. 942 F.2d at
1446—47, Reversing the district court's grant of a directed verdict in favor of the Sheriff, we
concluded that a reasonabie jury could have found that the Sheriff was deliberately
indifferent to the plaintiff's safety. d. at 1447 - 48. Such a jury could nave found that the
Sheriff “knew or reasonably should have known of the overcrowding” and that “he

acquiesced ina deficient policy that was a moving force behind” the harm caused to the
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plaintiff. ld. at 1447. Id at 1208.

The Plaintiff in Starr alleges that Sheriff Baca's knowledge of the unconstitutional
conditions in the jail, including his knowledge of the culpable actions of his subordinates,
coupled with his inaction, amounted to acquiescence in the unconstitutional conduct of his
subordinates. As we noted in Redman, under California law, “[t]he sheriff is required by
statute to take charge of and keep the county Jail and the prisoners in it, and is answerable
for the prisoner's safekeeping.” /d. at 1446 (citing Cal. Gov.Code §§§§ 26605, 26610;
Cal.Penal Code §§ 4006). We have held that ““acquiescence or culpable indifference”
may. suffice to show that a supervisor “personally played a role in.the alleged
constitutional violations.”” Menotti v. City of Seattle, 409 F.3d 1113, 1149 (9th Cir.2005):
see Redman, 942 F.2d ai 1446. Siarr’s aiiegations that the actions or inactions of ine
person ““answerable for the prisoner's safe-keeping”” caused his injury are therefore
sufficient to state a claim of supervisory liability for deliberate indifference. Id. at 1208.

Starr claims that Sheriff Baca ““knowingly refused to terminate a series of acts by
others, which he knew or reasonably should have known would cause ... constitutional
injury.”” Dubner, 266 F.3d at 968. Or, to state it slightly differently, Starr claims that Sheriff
Baca is ““liable in his individual capacity for his own culpable action or inaction in the
training, supervision, or control of his subordinates|.]Watkins, 145 F.3d at 1093. It is
somewhat tedious to recount the many allegations in the complaint detailing what Sheriff

Baca knew or should have known, and what Sheriff Baca did or failed to do. Id at. 1209.

Similar to Starr, PLAINTIFFS have alleged the exact same allegations in the FAC
against COUNTY and additional allegations which go well beyond what is required at the
pleading stage of this litigation:

Plaintiffs are informed and believe and thereon allege that prior to the incident
alleged herein, on or before 1997 and subsequent thereto, BACA and supervisor DOES
knew or reasonably should have known that sheriff deputies, custody personnel and

supervisors, employed by COUNTY and LACSD, in the course and scope of their

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employment under color of law, committed similar acts of failure to monitor inmates under
their watch, abandonment of their post, ignoring inmates, failure to report deputy
misconduct and viclation of inmates rights and delayed or denied inmates’ access to

medical care. FAC Para 15.

BACA and supervisor DOES became aware, or should have become aware, and

should have taken corrective action to prevent repeated incidents of supervisors failing to

supervise subordinates who were derelict in their duties and responsibilities and
deliberately indifferent as set forth this matter, and to the necessity of providing
reasonable security for inmates, incidents of deputies delaying or denying medical and
mental health care to inmates, incidents of deputies and supervisors adhering to a “code
of silence” resulting in failures to report Gepuiies’ wrongful and unconsiitutionai conduct,
incidents of failing to conduct investigations or condoning shoddy investigations or
incidents, ratifying wrongful conduct by deputies and supervisors that result in serious
injuries to inmates or deaths of inmates, civil litigation, judgments and settlements by
failing to implement corrective action to prevent repetition of ongoing wrongful conduct,
incidents of lax or lack of supervision and training and incidents that supervisors were not
reporting to their superiors as necessary or required of their duties and responsibilities.

FAC Para 16.

Many of the incidents and notice to BACA and supervisor DOES of unconstitutional
wrongful conduct caused by a failure io provide reasonable security as required by Farmer
v. Brenner, are set forth a follows: Beginning in 1996, when the US Department of Justice
("DOJ") began investigations of conditions of Los Angeles County Jails. On September 5,
1997, it gave BACA, then a supervisor, clear written notice in a “findings letter” of a
continued and serious pattern and practices of constitutional violations including, abuse of
inmates by sheriff's deputies working in the jail. At the time BACA was also a member of
Sheriff's Executive Council and he reviewed the DOu’s findings and thus was on notice of
the continued serious pattern, practice or custom of constitutional violations in the LACSD

and its jail. FAC Para 17.
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Defendants failed to properly monitor decedent, provide adequate medical attention
to decedent, provide prompt medical assistance to decedent, provide proper care to
decedent, provide oversight of decedent, provide proper medical care, provide adequate
surveillance of decedent, arrange for proper supervision of decedent, and provide
preventative care for decedent. There was deliberate indifference to the Decedent's
serious and obvious medical condition requiring care. Defendants knew or had reason to
know of the need for care and failed to summon, obtain, or procure such care.

Defendants failed to take reasonable action by failing to properly monitor decedent,
provide adequate medical attention to decedent, provide prompt medical assistance to

decedent, provide proper care to decedent, provide oversight of decedent, provide proper

medical care, nrovide adequate surveillance of decedent

of decedent, and provide preventative care for decedent. FAC Para 33.

Defendants caused the injury, and/or fostered an environment that allowed such an
injury to occur, and/or failed to properly monitor decedent, provide adequate medical
attention to decedent, provide prompt medical assistance to decedent, provide proper care
to decedent, provide oversight of decedent, provide proper medical care, provide
adequate surveillance of decedent, arrange for proper supervision of decedent, and

provide preventative care for decedent. FAC Para 34.

Defendants were aware that there was a serious and even deadly health threat to

Decedent. FAC Para 35.

Said defendants knew or should have known of Decedent's condition and

notwithstanding their knowledge of it’s life-threatening and debilitating nature, they

intentionally denied Decedent proper care. FAC Para 36.
Notwithstanding this information, Defendants failed to take reasonable

measures to prevent the following conduct of its jail custodial staff and medical staff and
acted with deliberate indifference to decedents health and safety and in conscious and

reckless disregard of PLAINTIFF's rights and in complete derogation of their
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responsibilities, did under color of law, knowingly and/or intentionally engage in the

following acts and omissions among others:

a.

b.

h.

The lack of properly monitoring decedent;

The lack of adeq uate medical attention to decedent;
The lack of prompt medical assistance;

The failure to provide care;

The lack of oversight of decedent;

The lack of proper medical care;

Inadequate surveillance of decedent;

Failure to arrange for supervision of decedent; and

Failure to provide preventative care for decedent. FAC Para 37(i).

In this manner, defendants, under color of law, purposefully created a health hazard

at Twin Towers and failed to protect Decedent's life and safety, to which protection

Decedent had a constitutional right, and thereby caused PLAINTIFFS injury. Said

defendants acted as they did in part because they knew or were otherwise aware that they

would receive no discipline or punishment for their conduct and that their constitutionally

violative conduct would otherwise be ratified and condoned by their superiors. FAC Para

38.

Defendants were aware that its custodial staff and medical staff was engaging in

said conduct and negligently failed to take measures to prevent such conduct. FAC Para

39.

Further, Defendants failed to implement various protocols which were intended to

prevent, control and avoid inmate dangers. FAC Para 40.

said Defendants also deliberately failed to implement protocols developed by the

Los Angeles County Sheriff's Department as to the prevention, detection and treatment of

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inmates. FAC Para 41.

Said defendants knew that by not training their staffs and by not implementing the
protocols, inmates could suffer serious, permanent and debilitating injury as a result. FAC

Para 42.

Thereafter, as a further direct and proximate result of the failure of said Defendants
to train their staffs and implement the protocols, Decedent was denied prompt medical

care and treatment by jail and medical staff at Twin Towers and passed away. FAC Para

43.

At said time and place, as aforesaid, Defendants, and each of them, so negligently,
carelessly, recklessly, wantonly and unlawfully treated and handled Decedent JIMMY
CORNEJO in causing the injury, and/or fostering an environment that allowed such an
injury to occur, and/or failed to properly monitor decedent, provide adequate medical
attention to decedent, provide prompt medica! assistance to decedent, provide proper care
to decedent, provide oversight of decedent, provide proper medical care, provide
adequate surveillance of decedent, arrange for proper supervision of decedent, and
provide preventative care for decedent so as to directly and proximately cause Decedent's

death. FAC Para 44.

All of decedeni’s injuries could have been easily avoided had he been timely and

and appropriately treated. FAC Para 45.

The specific constitutional rights that have been violated has been delineated in the
FAC, versus Baker v. McColfan, 443 U.S. 137 (1979) and Albright v. Oliver 510 U.S. 266
(1994), cases that were cited by COUNTY.

PPG Industries v. TransAmerica 20 Cal. 4" 310 (1999) cited by COUNTY is not
analogous to the instant case as PPG Industries involved the payment of punitive
damages awarded in a third party lawsuit against an insured as a result of an unsured’s

intentional, morally blameworthy behavior against the third party.

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Rosh.v. Cave imaging Systems 26 Cal. App 4" 1225 (1994) also cited by COUNTY
is inapposite to the instant case in that involved an appeal of improper jury verdict, and in
that case there was allegedly no evidence that the defendant proximately caused the

plaintiff's injuries. This bears no relationship to what is being plead by the PLAINTIFFS IN

this matter.

Similarly this case is not in any way similar to the negligent act of leaving a
newspaper and pillows in a stairway, in Daniels v. Williams 474 U.S. 327, 106 S. Ct. 663
(1986), also cited by COUNTY, nor a medical malpractice matter in Estelle v. Gamble 429
U.S. 97, S. Ct. 285, 292 (1976), cases that were also referred to in COUNTY’s Motion.

V. THE FIRST CLAIM IS NOT DUPLICATIVE OF THE SECOND CLAIM FOR RELIEF

PLAINTIFFS have sufficiently plead a cause of action under Monell v. Dept of
Social Services of New York, 436 U.S. 658, (1978).

As a result of the aforementioned policies, practices, procedures, customs, acts,
omissions and systematic deficiencies of Defendants and medical staff at Twin Towers,
Decedent died. Had Defendants acted properly, decedent’s death would have been
avoided. Fac Para 64.

Vi. PLAINTIFFS HAVE NOT FAILED TO STATE A CLAIM FOR RELIEF UNDER THE
EIGHTH AMENDMENT AS DECEDENT MAY HAVE BEEN A CONVICTED
PRISONER
PLAINTIFFS allege that Decedent may have been a convicted prisoner and |

PLAINTIFFS are entitled to conduct discovery pertaining to this issue.

Defendants acted in reckless and callous disregard for the constitutional rights of

Plaintiffs and Decedent (who may have been a convicted prisoner), Hispanic-Americans.

The wrongful acts, and each of them, were willful, oppressive, fraudulent and malicious

FAC 70.

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Vil. CONCLUSION

For the foregoing reasons, PLAINTIFFS respectfully request that this Court deny

COUNTY's Motion to Dismiss PLAINTIFFS First Amended Complaint.

Dated: July 2, 2012

Dated: July 2, 2012

CHISVIN & ASSOCIATES

  

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CERTIFICATE OF SERVICE

STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

| hereby certify that on July 2, 2012, | electronically filed the foregoing
PLAINTIFFS’ OPPOSITION TO DEFENDANT COUNTY OF LOS ANGELES’ MOTION
TO DISMISS THE FIRST AMENDED COMPLAINT; MEMORANDUM OF POINTS AND
AUTHORITIES with the Clerk of the Court using the CM/ECF system which will send
notification of such filing(s) to the following:

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Executed on July 2, 2012, at Commerce, California.

     
  
 

XX Ideclare under penalty of perjury under the laws of the State of California that the

above is true aiid-cerreet.

 

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ALEX MARTINE

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